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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI



 DYLAN MARTIN, on behalf of himself and
 all others similarly situated,

                                Plaintiff,           Case No.: 4:20-cv-01128-RLW

        v.

 LINDENWOOD UNIVERSITY,

                                Defendant.


  JOINT MOTION REQUESTING EXTENTION OF DEADLINES IN THE COURT’S
     ORDER REFERRING CASE TO ALTERNATIVE DISPUTE RESOLUTION

       Plaintiff Dylan Martin and Defendant Lindenwood Female College d/b/a Lindenwood

University (the “Parties”), by and through their respective counsels, hereby respectfully submit

this Joint Motion Requesting Extension of Deadlines in the Court’s Order Referring Case To

Alternative Dispute Resolution (Dkt. #24). Since July 1, 2021, the Parties’ counsel have conferred

about several possible mediators for this action, and about scheduling for that mediation. Last

week, the Parties agreed upon a mediator, but we were informed today by the selected mediator of

a conflict. We now have to choose another neutral. Therefore, the Parties hereby jointly request

an extension of the deadline to notify the clerk of the agreed choice of mediator until and including

Thursday, July 22, 2021. Moreover, due to the difficulty finding available dates to mediate in July

and August, the Parties also jointly request an extension of the deadline to conclude their ADR

conferences until and including Thursday, September 30, 2021.




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Dated: July 12, 2021               Respectfully Submitted,

                                    By:    /s/ Joseph I. Marchese

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                                CERTIFICATE OF SERVICE
       I hereby certify that on the July 12, 2021, a copy of the foregoing was filed electronically

with the Clerk of the Court using the CM/ECF system, which in turn forwarded notification of

same to all counsel of record in these proceedings.


                                                      By:   /s/ Joseph I. Marchese
                                                                Joseph I. Marchese




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